           Case 1:21-cr-00005-ABJ Document 50 Filed 02/17/22 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


         UNITED STATES OF AMERICA                     )
                                                      )
                v.                                    )    Cr. No. 21-005 ABJ
                                                      )
         Mark Leffingwell                             )    UNDER SEAL
                                                      )


                                                 *****

                 DEFENDANT’S RESPONSE TO THE COURT’S INQUIRY
                 REGARDING MILITARY DISABILITY COMPENSATION



        The Defendant, by and through his attorney, Mark J. Carroll, hereby responds to the

 Court’s inquiry regarding the defendant’s military disability compensation.

        On February 10, 2022, the Court sentenced the defendant to six months incarceration on

 the charged offense. Questions arose due to the conflict in language between the Veteran’s

 Administration’ website and CFR 3.665(i). More specifically, the website stated that a felon

 convicted of a felony and sentenced to more than 60 days may get his benefits reinstated.

 Whereas the language of CFR 3.665(i) states that the benefits shall be reinstated.

       Through the Federal Defender Services Office, Training Division Administrative Office of

the United States Courts, counsel contacted attorney Brock Hunter, an attorney who specializes in

military affairs. He was a plenary presenter at the 2017 National CJA/Defender Multitrack Seminar

in Philadelphia. Mr. Hunter stated in his experience, veteran clients have been able to get their

disability benefits reinstated at their original disability percentage after release from custody.
1
           Case 1:21-cr-00005-ABJ Document 50 Filed 02/17/22 Page 2 of 3




       Counsel also contacted, Robert A. Martinez Senior Counsel, Federal Bureau of Prisons

Designation and Sentence Computation Center, in Grand Prairie, Texas regarding Mr.

Leffingwell’s placement. He advised me that the Bureau of Prisons has not yet received anything

from the U.S. Marshall Service or the U.S. Probation Office on this inmate, because a formal

judgment has not been entered. Until all of the relevant documents are submitted to the Bureau, it

would be impossible to provide any information regarding a potential designation. Once the case is

submitted to the Bureau, they will need to review all of the documents to determine the inmate's

security classification, programming, medical needs, etc. Generally speaking, and based upon the

information counsel has provided to Mr. Martinez, it is likely that Mr. Leffingwell would be

designated to a Bureau facility, but until they receive all of the necessary documentation, he is

unable to provide a more specific answer. He was also unable to tell the time frame for a

designation until all of the required materials are received by the Bureau. The normal time for

designation is a couple of days once the materials have been submitted to the Bureau, but that time

can be extended if there are more complicated issues (e.g., medical needs) or a need for additional

documentation.

       Counsel explained to Mr. Martinez that no Judgement and Commitment Order had been

filed because the Court was waiting to hear from counsel as to the questions regarding the

suspension and reinstatement of Mr. Leffingwell’s disability payments.


                                                                      Respectfully submitted,

                                                                             /s/
                                                                Mark J. Carroll, Esquire # 414-619
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                                                                Bethany Beach, DE 19930-3475
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2
          Case 1:21-cr-00005-ABJ Document 50 Filed 02/17/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE

   I hereby certify that on this 17th day of February 2022, a copy of the foregoing response
was served via the ECF system, or by email.


                                                                           /s/
                                                             Mark J. Carroll, Esquire




3
